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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. __________________

  WEINREIS ETHANOL, LLC, a North Dakota limited liability company;
  LAPASEOTES LAND LLC, a Nebraska limited liability company;
  DINKLAGE FEED YARD, INC., a Nebraska corporation; and
  EAST COAST AG HOLDINGS LLC, a Delaware limited liability company,

         Plaintiffs,

  v.

  DAVID KRAMER;
  COLORADO AGRI PRODUCTS, LLC, a Colorado limited liability company; and
  JOHN AND JANE DOES NOS. 1-25,

         Defendants.


                              COMPLAINT AND JURY DEMAND


         Plaintiffs Weinreis Ethanol, LLC, a North Dakota limited liability company, Lapaseotes

  Land LLC, a Nebraska limited liability company, Dinklage Feed Yard, Inc., a Nebraska

  corporation, and East Coast Ag Holdings LLC, a Delaware limited liability company (together,

  the “Plaintiffs”), through their undersigned counsel, for their Complaint (the “Complaint”)

  against Defendants David Kramer (“Kramer”), Colorado Agri Products, LLC, a Colorado limited

  liability company (“CAP”), and John and Jane Does Nos. 1-25 (together, the “Defendants”),

  allege as follows:

                                       I. Nature of the Action

         1.      Plaintiffs file this action in response to the Defendants’ wrongful actions taken for

  their own personal gain or in ways that injured and harmed Plaintiffs. While some of the
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  Defendants’ wrongdoing set forth by this Complaint goes back a number of years, Plaintiffs

  through their investigation and due diligence only recently have discovered the full scope and

  extent of that wrongdoing as well as the devastating harm and injury that it is causing to

  Plaintiffs. What Plaintiffs describe in this Complaint concerning the Defendants’ wrongdoing is

  based upon facts and information they recently obtained.

         2.      Bridgeport Ethanol, LLC (“Bridgeport”), is a producer of ethanol and distiller wet

  grains. Bridgeport’s ethanol-production Plant is located in Bridgeport, Nebraska (the “Plant”).

  Bridgeport, through the purchase and processing of corn, manufactures ethanol and sells its

  products to purchasers of ethanol and grains throughout Nebraska and across the country.

  Today, Bridgeport produces more than 52 million gallons of ethanol per year and an average of

  approximately 382,000 tons of distiller wet grains per year.

         3.      Since 2007, CAP has served as the sole management company and commodities

  marketer for Bridgeport, providing management and oversight to Bridgeport as well as to two

  other ethanol-production companies, Sterling Ethanol LLC and Yuma Ethanol, LLC, each

  having ethanol plants located in Colorado.

         4.      Defendant Kramer is the co-founder, co-owner, and General Manager of CAP.

  Kramer is also the Managing Manager of Bridgeport under Bridgeport’s Operating Agreement,

  and serves as one of four Class A Managers of Bridgeport’s Board of Managers. In his various

  roles, Kramer has, since 2007, used his positions and power to control Bridgeport, including

  directing day-to-day decisions about Bridgeport and its operations.

         5.      Plaintiffs are members of and investors in Bridgeport. Plaintiffs have recently

  come to learn of Kramer’s pervasive, repeated wrongdoing, individually, through CAP, and in



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  collaboration with others associated with CAP. Kramer, individually and through CAP, has

  engaged in a concerted campaign of wrongdoing to further his own personal interests and those

  of his family, to the detriment and at the expense of Plaintiffs. Among other things, Kramer

  obtained and/or used funds that otherwise would have gone to Plaintiffs by way of distributions

  for the purchase of personal equipment and products, and for the benefit of his family members,

  including his son Deric Kramer. Kramer took such funds for his own use and/or used such funds

  to pay for or reimburse dues, fees, marketing and advertising, and sponsorship expenses for his

  personal race car teams or those in which he has interests, including American Ethanol Racing

  Team, Sterling Racing Team, Kramer Racing American Ethanol NHRA ProStock Team, and

  Deric Kramer Pro Stock Racing Team. Kramer also used such funds to pay for advertising for

  his racing teams, including at Bandimere Speedway and the Julesburg Drag Strip, and to pay for

  annual membership dues with national stock car associations.

         6.      Plaintiffs have also come to learn that, over a period of years, Kramer,

  individually and by and through CAP, oversaw a scheme to use Bridgeport proceeds that

  otherwise would have been distributed to Plaintiffs in order to pay inflated, over-market prices to

  various enzyme and product suppliers, from whom Bridgeport purchased enzymes and other

  products to produce ethanol. In exchange for Bridgeport’s payment of these inflated prices to the

  enzyme and products suppliers, the suppliers agreed to lucrative sponsorships of Kramer’s

  personal racing teams, including American Ethanol Racing Team, Sterling Racing Team, and

  Deric Kramer Pro Stock Racing Team. These sponsorships were set up in a “quid-pro-quo”

  arrangement, so that, by Kramer ensuring payments to these companies, Kramer could ensure




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  that he and his racing teams received lucrative sponsorships, amounting to more than hundreds

  of thousands of dollars.

         7.      To further accomplish this wrongful scheme and ensure that it was not disclosed

  to Plaintiffs, Kramer terminated the employment of Bridgeport’s General Manager, Ted Free, on

  May 19, 2021, after Kramer learned that Mr. Free had been looking into these sponsorship

  arrangements and was prepared to present his findings to the Bridgeport Board. Kramer

  terminated Mr. Free the day after he learned that Mr. Free was planning to present his findings to

  the Bridgeport Board, and refused to allow the Bridgeport Board to receive the information and

  documents that Mr. Free wanted the Bridgeport Board to consider.

         8.      Kramer, individually and through CAP, engaged in additional activities in

  violation of the Bridgeport Operating Agreement, such as diverting Bridgeport’s units to his

  personal associates. These actions have had a serious negative impact on Plaintiffs.

         9.      In September 2021, to further conceal his wrongdoing, Kramer hired Trevor

  Morgan as the new General Manager for the Bridgeport Plant, without allowing the Bridgeport

  Board to provide any meaningful input into a replacement General Manager candidate following

  Mr. Free’s termination, and without seeking or obtaining approval of the Board. Mr. Morgan

  previously worked as a Senior Technical Account Manager for Phibro Ethanol Performance

  Group, one of Bridgeport’s suppliers and a sponsor of Kramer’s racing teams, and before that, at

  Novozymes Bioenergy, another of Kramer’s sponsors.

         10.     Plaintiffs have been and continue to be harmed and damaged by Kramer’s

  wrongful conduct, individually and through CAP. Defendants’ wrongdoing is in clear violation

  of the Bridgeport Operating Agreement and applicable law.



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                                             II. Parties

  A.     Plaintiffs

         11.     Plaintiff Weinreis Ethanol LLC is a North Dakota limited liability company with

  its principal place of business in North Dakota. Weinreis Ethanol LLC is a citizen of the States

  of North Dakota, South Dakota, Montana, and Nebraska for purposes of diversity jurisdiction:

                 a.     Charles Weinreis is a Member of Weinreis Ethanol LLC and is a citizen of

         the State of South Dakota.

                 b.     Garrett Weinreis is a Member of Weinreis Ethanol LLC and is a citizen of

         the State of South Dakota.

                 c.     Eugene Weinreis is a Member of Weinreis Ethanol LLC and is a citizen of

         the State of North Dakota.

                 d.     Peter James Weinreis is a Member of Weinreis Ethanol LLC and is a

         citizen of the State of North Dakota.

                 e.     George Weinreis is a Member of Weinreis Ethanol LLC and is a citizen of

         the State of North Dakota.

                 f.     Daniel Weinreis is a Member of Weinreis Ethanol LLC and is a citizen of

         the State of Nebraska.

                 g.     Gerald Weinreis is a Member of Weinreis Ethanol LLC and is a citizen of

         the State of North Dakota.

                 h.     Leland Weinreis is a Member of Weinreis Ethanol LLC and is a citizen of

         the State of North Dakota.




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                i.      Dr. Don Beck is a Member of Weinreis Ethanol LLC and is a citizen of

        the State of Montana.

                j.      Bradley and Julie Zook are Members of Weinreis Ethanol LLC and are

        citizens of the State of North Dakota.

                k.      Weinreis Brothers Partnership is a Member of Weinreis Ethanol LLC and

        is a citizen of North Dakota, South Dakota, and Nebraska for purposes of diversity

        jurisdiction.

                        1.      Charles Weinreis is a Partner in Weinreis Brothers Partnership and

        is a citizen of the State of South Dakota.

                        2.      Eugene Weinreis is a Partner in Weinreis Brothers Partnership and

        is a citizen of the State of North Dakota.

                        3.      Peter James Weinreis is a Partner in Weinreis Brothers Partnership

        and is a citizen of the State of North Dakota

                        4.      George Weinreis is a Partner in Weinreis Brothers Partnership and

        is a citizen of the State of North Dakota.

                        5.      Daniel Weinreis is a Partner in Weinreis Brothers Partnership and

        is a citizen of the State of Nebraska.

                        6.      Gerald Weinreis is a Partner in Weinreis Brothers Partnership and

        is a citizen of the State of North Dakota.

                        7.      Leland Weinreis is a Partner in Weinreis Brothers Partnership and

        is a citizen of the State of North Dakota.




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         12.     Plaintiff Lapaseotes Land LLC is a Nebraska limited liability company with its

  principal place of business in Nebraska. Lapaseotes Land LLC is a citizen of the State of

  Nebraska for purposes of diversity jurisdiction:

                 a.      Pete Lapaseotes is a Member of Lapaseotes Land LLC and is a citizen of

         the State of Nebraska.

                 b.      Nicholas (Nick) Lapaseotes is a Member of Lapaseotes Land LLC and is a

         citizen of the State of Nebraska.

         13.     Plaintiff Dinklage Feed Yard, Inc. is a Nebraska corporation with its principal

  place of business in Nebraska. Dinklage Feed Yard, Inc. is a citizen of the State of Nebraska for

  purposes of diversity jurisdiction.

         14.     Plaintiff East Coast Ag Holdings LLC is a Delaware limited liability company.

  East Coast Ag Holdings LLC is a citizen of the State of Delaware, Nebraska, and Minnesota for

  purposes of diversity jurisdiction.

                 a.      The James W. Schiff Family Dynasty Trust is a member of East Coast Ag

         Holdings LLC and is a citizen of the States of Delaware, Nebraska, and Minnesota for

         purposes of diversity jurisdiction.

                         1.       Terrence James Schiff is a trustee of the James W. Schiff Family

         Dynasty Trust, and is a citizen of the State of Delaware.

                         2.       James Scott Schiff is a trustee of the James W. Schiff Family

         Dynasty Trust, and is a citizen of the State of Nebraska.

                         3.       Kimberley Schiff Glynn is a trustee of the James W. Schiff Family

         Dynasty Trust, and is a citizen of the State of Minnesota.



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                       4.      James J. Lachall is a trustee of the James W. Schiff Family

        Dynasty Trust, and is a citizen of the State of Delaware.

                       5.      Charles R. Lee is a trustee of the James W. Schiff Family Dynasty

        Trust, and is a citizen of the State of Delaware.

               b.      The Carol T. Schiff Family Dynasty Trust is a member of East Coast Ag

        Holdings LLC and is a citizen of the States of Delaware, Nebraska, and Minnesota for

        purposes of diversity jurisdiction.

                       1.      Terrence James Schiff is a trustee of the Carol T. Schiff Family

        Dynasty Trust, and is a citizen of the State of Delaware.

                       2.      James Scott Schiff is a trustee of the Carol T. Schiff Family

        Dynasty Trust, and is a citizen of the State of Nebraska.

                       3.      Kimberley Schiff Glynn is a trustee of the Carol T. Schiff Family

        Dynasty Trust, and is a citizen of the State of Minnesota.

                       4.      James J. Lachall is a trustee of the Carol T. Schiff Family Dynasty

        Trust, and is a citizen of the State of Delaware.

                       5.      Charles R. Lee is a trustee of the Carol T. Schiff Family Dynasty

        Trust, and is a citizen of the State of Delaware.

               c.      The Terrence James Schiff Family Dynasty Trust is a member of East

        Coast Ag Holdings LLC and is a citizen of the States of Delaware, Nebraska, and

        Minnesota for purposes of diversity jurisdiction.

                       1.      James Scott Schiff is a trustee of the Terrence James Schiff Family

        Dynasty Trust, and is a citizen of the State of Nebraska.



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                        2.      Kimberley Schiff Glynn is a trustee of the Terrence James Schiff

        Family Dynasty Trust, and is a citizen of the State of Minnesota.

                        3.      James J. Lachall is a trustee of the Terrence James Schiff Family

        Dynasty Trust, and is a citizen of the State of Delaware.

                        4.      Charles R. Lee is a trustee of the Terrence James Schiff Family

        Dynasty Trust, and is a citizen of the State of Delaware.

                d.      The James Scott Schiff Family Dynasty Trust is a member of East Coast

        Ag Holdings LLC and is a citizen of the States of Delaware and Minnesota for purposes

        of diversity jurisdiction.

                        1.      Terrence James Schiff is a trustee of the James Scott Schiff Family

        Dynasty Trust, and is a citizen of the State of Delaware.

                        2.      Kimberley Schiff Glynn is a trustee of the James Scott Schiff

        Family Dynasty Trust, and is a citizen of the State of Minnesota.

                        3.      James J. Lachall is a trustee of the James Scott Schiff Family

        Dynasty Trust, and is a citizen of the State of Delaware.

                        4.      Charles R. Lee is a trustee of the James Scott Schiff Family

        Dynasty Trust, and is a citizen of the State of Delaware.

                e.      The Kimberley Schiff Glynn Family Dynasty Trust is a member of East

        Coast Ag Holdings LLC and is a citizen of the States of Delaware and Nebraska for

        purposes of diversity jurisdiction.

                        1.      Terrence James Schiff is a trustee of the Kimberley Schiff Glynn

        Family Dynasty Trust, and is a citizen of the State of Delaware.



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                             2.   James Scott Schiff is a trustee of the Kimberley Schiff Glynn

           Family Dynasty Trust, and is a citizen of the State of Nebraska.

                             3.   James J. Lachall is a trustee of the Kimberley Schiff Glynn Family

           Dynasty Trust, and is a citizen of the State of Delaware.

                             4.   Charles R. Lee is a trustee of the Kimberley Schiff Glynn Family

           Dynasty Trust, and is a citizen of the State of Delaware.

   B.      Defendants

           15.     Defendant Dave Kramer is an individual who is a citizen of Colorado.

           16.     Defendant Colorado Agri Products, LLC is a Colorado limited liability company

   with its principal office and place of business at 450 Angus Avenue, Sterling, Colorado 80751.

   CAP is a citizen of the State of Colorado for purposes of diversity jurisdiction.

           17.     Upon information and belief, CAP has two members, Defendant Kramer and

   William (Bill) Bornhoft, both of whom are citizens of the State of Colorado for purposes of

   diversity jurisdiction.

           18.     Defendants John and Jane Does Nos. 1-25 are persons and entities whose

   identities are not presently known and, therefore, Plaintiffs sue such Defendants by fictitious

   names. Plaintiffs will seek leave of Court to amend this Complaint to allege their true names and

   capacities when they have been ascertained.

           19.     At all times relevant hereto, and upon information and belief, Defendants Kramer,

   CAP, and John and Jane Does Nos. 1-25 were the agents, representatives, and servants of each

   other, and/or materially aided, abetted, or encouraged each other’s conduct described herein.




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          20.     Further, upon information and belief, at all times mentioned, Defendants Kramer,

   CAP, and John and Jane Does Nos. 1-25 have controlled one another, and are so influenced by

   each other, that they have no separate identity from one another, and they are the alter egos of

   one another. Defendants Kramer, CAP, and John and Jane Does Nos. 1-25 held themselves out,

   acted, used their resources, and provided services as a single party or entity and did not

   distinguish themselves as independent from one another. Piercing of veils is appropriate and

   necessary as the facts are such that adherence to the separate existence of each of Defendant

   would, under the circumstances, sanction wrongdoing and promote injustice.

                                      III. Jurisdiction and Venue

          21.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.

          22.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b).

                                        IV. General Allegations

   A.     Bridgeport

          23.     Bridgeport is a producer of ethanol and wet distiller grain products based in

   Bridgeport, Nebraska. Bridgeport was formed on or around August 17, 2006. As discussed

   more fully below, on February 20, 2007, Bridgeport entered into an Operating Agreement (the

   “Bridgeport Operating Agreement”), which has been signed by, among others, Kramer as

   Bridgeport’s Managing Manager as well as by Plaintiffs.

          24.     Bridgeport was formed for the purposes of owning, constructing, operating,

   leasing, financing, contracting with and/or investing in ethanol production and co-product

   production facilities, as well as engaging in the processing of corn, milo, barley, grains, and other




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   feedstock into ethanol, and any and all related co-products, as well as to market and sell those

   products.

           25.     Bridgeport focuses on selling high-quality products to consumers. Bridgeport

   purchases corn and ferments that corn, through corn starch, into ethanol. Wet distiller grains are

   the main co-product by volume that remains after the fermentation process. Bridgeport sells its

   ethanol and grain products to various consumers in Nebraska and throughout other markets

   across the country.

   B.      Bridgeport’s Operating Agreement

           26.     Kramer and Plaintiffs signed the Bridgeport Operating Agreement. A true and

   correct copy of the Bridgeport Operating Agreement is attached hereto as Exhibit 1.

           27.     The Bridgeport Operating Agreement describes the purpose of Bridgeport,

   specifically:

           The nature of the business and purposes of the Company are (i) to own, construct,
           operate, lease, finance, contract with, and/or invest in ethanol production and
           coproduct production facilities and (ii) to engage in the processing of corn, milo,
           barley, grains and other feedstock into ethanol and any and all related co-products,
           and the marketing of all products and co-products from such processing.

   See Bridgeport Operating Agreement, Ex. 1, at § 2.3.

           28.     The Bridgeport Operating Agreement identifies the Managers and Members of

   Bridgeport. There are two “classes” of membership units in Bridgeport, Class A and Class B,

   with Bridgeport issuing only up to 18 Class A units, and up to 547 Class B units. The members

   holding Class A units are permitted to appoint a majority (4 of 7) of the Managers of Bridgeport,

   and the remaining minority (3 of 7) Managers are appointed by the Class B Members. See Ex. 1,

   at §§ 3.1.1.1; 3.1.1.2; 7.4.



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           29.     The Class A-appointed Managers of Bridgeport are Defendant Kramer as well as

   Bill Bornhoft, Larry Baucke, and Galyn Einspahr. The Class B-appointed Managers of

   Bridgeport are Charles (Chuck) Weinreis, Randy Faessler, and Scott Schiff. These seven

   individuals comprise the Bridgeport Board.

           30.     The Bridgeport Operating Agreements designates a Managing Manager. See id.,

   at § 7.10. Since 2007, Kramer has served as the Managing Manager of Bridgeport.

           31.     Kramer has the duties and obligations, among others, to discharge his duties

   pursuant to the Bridgeport Operating Agreement in good faith, in a manner that is in the best

   interests of Bridgeport, and with the care that an ordinarily prudent person in a like position

   would exercise under similar circumstances. Ex. 1, at § 7.18(c).

           32.     Kramer also is required to cause Bridgeport to conduct its business and operations

   separate and apart from the business of any of the Managers. Id. at § 7.18(a).

           33.     Kramer is prohibited from, among other things, receipt of an improper financial

   benefit to which he is not entitled; receipt of distributions in violation of the articles of

   organization, the Operating Agreement, or Section 7-80-606 of Colorado’s Limited Liability

   Company Act; engaging in a knowing violation of law; or acts or omissions involving fraud, bad

   faith or willful misconduct. Ex. 1, at § 7.23.

           34.     Section 8.1 of the Bridgeport Operating Agreement provides “[t]he books

   and records of [Bridgeport] shall be kept, and the financial position and the results of its

   operations recorded, in accordance with GAAP. The books and records shall reflect all

   the Company transactions and shall be appropriate and adequate for [Bridgeport’s]

   business.” Section 8.2 provides, in part, that “any Member or its designated



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   representative shall have reasonable access to the information and documents kept by

   [Bridgeport] pursuant to Section 8.1.”

   C.     CAP

          35.     CAP was founded by Kramer in 2004 to create and supply feed product for feed

   yards in eastern Colorado and to help produce fuel for use in Colorado. In 2005, an ethanol plant

   in Sterling, Colorado opened and began operations, under the name Sterling Ethanol LLC, and

   CAP began providing management services to that plant. Over time, CAP expanded its business

   plan and began providing management services to an ethanol plant in Yuma, Colorado (Yuma

   Ethanol LLC), and in 2007, to the Bridgeport Plant in Bridgeport, Nebraska.

          36.     Since that time, CAP has managed the day-to-day operations of the Bridgeport

   ethanol and wet distiller grains Plant. As discussed more fully below, CAP has done so pursuant

   to a Management Agreement entered into between Bridgeport and CAP dated September 1, 2007

   (the “Management Agreement”).

          37.     Today, CAP oversees total annual ethanol production out of Bridgeport of over 52

   million gallons of ethanol per year for Bridgeport, and, among other things, purchases and sells

   feed on behalf of Bridgeport.

   D.     The Management Agreement Between Bridgeport and CAP

          38.     To manage, supervise, and conduct the daily affairs of Bridgeport’s Plant, as well

   as to obtain management and procurement services relating to the purchase of its corn products

   necessary for its ethanol and wet distiller grains operations, Kramer caused Bridgeport to hire

   CAP in 2007 to provide Bridgeport with management services.




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          39.     On September 1, 2007, Bridgeport and CAP entered into a Management

   Agreement. A true and correct copy of the Management Agreement is attached hereto as

   Exhibit 2.

          40.     The recital provisions of the Management Agreement provide the intent and

   purpose of the engagement:

          WHEREAS, Company [Bridgeport] intends to construct and operate an ethanol
          production facility in Bridgeport, Nebraska (the “Plant'”); and

          WHEREAS, Company wishes to engage Managing Company [CAP], as a
          contractor, to manage and operate the ethanol production facilities, as well as co-
          product production, at the Plant, and Managing Company [CAP] desires to provide
          such management services on the terms and conditions hereinafter described.

          41.     The Management Agreement provides for the duties and obligations of CAP as

   the manager of Bridgeport’s Bridgeport Plant, specifically:

          It is the duty of Managing Company to cooperate with Company and act in a
          manner to maximize the long term success and profitability of the Plant. To
          this end, Managing Company agrees to perform in a professional and
          competent manner and to act in compliance with all loan covenants, loan
          agreements, promissory note requirements and any other requirements of any
          financing documents executed by Company. Subject to the ultimate control and
          policies of the Board, Managing Company shall have the day-to-day management
          control of the business of the Plant and shall have the responsibility and authority
          to take all action necessary or appropriate to accomplish the purposes of the Plant
          including, without limitation, the power and authority:

                  (a)    To manage, supervise and conduct the day-to-day affairs of the
                         Plant.

                  (b)    To hire such employees and independent contractors as Managing
                         Company shall determine are reasonably necessary to the operations
                         of the Plant, subject to Board approval. The Board shall retain the
                         authority to require Managing Company to terminate any employees
                         or independent contractors hired by Managing Company. In the case
                         of an emergency, prior approval of the Board will not be required.

                  (c)    To purchase and have delivered to the Plant on a timely basis all
                         grain required in the operations of Company, which grain shall be


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                    delivered free and clear of any liens or encumbrances of any kind.
                    Company shall pay Managing Company for such grain on a weekly
                    basis at a marketing fee of $0.03 per bushel.

              (d)   To market and sell distillers wet grains with solubles (“DWGS”)
                    produced at the Plant to local feed yards, dairies and other buyers at
                    a competitive price. On a weekly basis, Company shall pay
                    Managing Company an amount equal to 4% of the gross amount
                    charged to buyers of the DWGS.

              (e)   To purchase or otherwise obtain the right to use equipment, supplies,
                    hardware and software technology associated with the Plant, except
                    that new purchases in amounts exceeding $100,000 must be
                    approved in advance by the Board. As used in the preceding
                    sentence, “new purchases” does not refer to equipment, supplies,
                    hardware and software technology associated with the initial
                    construction of the Plant or associated with future expansions of the
                    Plant, or budgeted capital expenditures approved by the Board nor
                    does it refer to repairs to or replacements of the equipment, supplies,
                    hardware and software technology associated with the initial Plant
                    or the expanded Plant.

              (f)   To create a projected annual Financial Statement for review by the
                    Board. To maintain adequate records and accounts of all operations
                    and expenditures relating to the operations of the Plant.

              (g)   To execute all instruments of any kind or character which Managing
                    Company in its discretion shall deem necessary or appropriate to
                    carry out its duties and responsibilities.

              (h)   To establish bank accounts, collect customer payments, disburse
                    cash and make other payments in the name of Company.

              (i)   To obtain liability, casualty and other insurance to protect the Plant
                    properties and assets.

              (j)   To carry on any other activities necessary to, in connection with, or
                    incidental to any of the foregoing or the day-to-day operations of the
                    Plant.

              (k)   To maintain, at the expense of Company, adequate records and
                    accounts of all operations and expenditures and furnish Company
                    with monthly and annual statements of account as of the end of each
                    month and year, together with all necessary tax reporting
                    information.


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                  (l)     To use its best efforts to cause the Plant and its operations to
                          comply with all applicable laws and regulations.

   Management Agreement, Ex. 2, at § 2 (emphasis added).

          42.     The Bridgeport Board retained the ultimate authority and control over CAP’s

   management of the Bridgeport Plant and its General and Plant Managers. Among other things,

   CAP agreed to cooperate with Bridgeport, to act in a manner to maximize the long-term success

   and profitability of the Plant, and to act in a professional and competent manner. Id. at § 2.

   Further, the day-to-day management by CAP of the business of the Plant, and its authority to

   take actions to further the purposes of the Plant, were subject to the ultimate control of

   Bridgeport’s Board. Id.

          43.     Pursuant to the Management Agreement, CAP is also obligated to provide

   Bridgeport with full time services of a qualified Bridgeport General Manager to conduct the day-

   to-day operations of the ethanol-production Plant in Bridgeport, Nebraska. Specifically, the

   Management Agreement states:

          Managing Company will provide the full time services of a qualified Plant General
          Manager acceptable to the Board, whose salary, related payroll taxes and benefits
          shall be paid by Managing Company without reimbursement by Company. Subject
          to the ultimate control and policies of the Board, the General Manager’s
          responsibilities include the following:

                  (a)     To oversee all business operations, Plant operations, purchasing
                          operations, marketing operations, personnel operations, and any and
                          all other items relating to Plant operations and profitability.

                  (b)     Timely reporting of financial information and operational
                          information to Company.

                  (c)     To maintain a positive company image and relationship in the city,
                          community, county, state and nation.

                  (d)     To administer the wage and benefit package recommended by
                          Managing Company and approved by the Board.


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                     (e)    To use its best efforts to ensure that all city, county, state and federal
                            rules and regulations are being met. This would include but not be
                            limited to: air quality regulations, storm water discharge regulations,
                            BATF regulations, OSHA regulations, state fuel regulations, state
                            feed regulations, and any and all other regulations pertaining to
                            Plant operations.

                     (f)    To observe all ethanol related activities of the state and federal
                            legislature and work diligently to retain all current incentives
                            available to the ethanol industry. Also, work with any state or federal
                            legislative effort that is positive to the ethanol industry.

                     (g)    To approve all Plant purchases involving new items and sign all
                            cheeks and review all invoices on a timely basis. Raw material and
                            replacement purchases may be handled by individual departments.

                     (h)    To oversee grain purchasing, ethanol marketing and distillers feed
                            marketing departments and to ensure best pricing scenarios for all
                            products.

                     (i)    To insure that all raw product costs are minimized and that all
                            finished product revenues are maximized.

                     (j)    To report to Company and Board on a regular basis and as requested.

   Ex. 2, at § 11.

           44.       In exchange for management services, Bridgeport pays CAP various fees pursuant

   to the Management Agreement, including a “Management Fee.” Specifically:

           Company shall pay Managing Company a management fee of $0.00875 per gallon
           of denatured fuel ethanol production (the “Management Fee”) or a minimum of
           $350,000 per year ($29,166 per month). The Management Fee is payable in
           monthly installments based on the prior month’s production and is due on the first
           day of the month. The Management Fee and all other fees paid to Managing
           Company hereunder shall be adjusted (to increase only) annually for inflation on
           first day of the twelfth month following the execution of this Agreement and o each
           anniversary of such date, based on the increase, if any, in the Consumer Price Index,
           CPI-U, U.S. City Average, All Items, from September of the preceding year to
           September of that year.

   Id. at § 7.




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           45.    Bridgeport also pays CAP an “Incentive Fee” as follows:

           As an incentive to Managing Company to achieve high-profitability, and to
           promote collection of those revenues billed and to encourage quality and efficiency
           of operation, Company shall, on an annual basis, pay to Managing Company, in
           addition to the Management Fee, an amount equal to five percent (5%) of EBITDA.
           Such incentive bonus payments are due and payable no later than 60 days after the
           end of each fiscal year. Said Incentive Bonus shall be prorated if Managing
           Company's services terminate during any fiscal year, and shall be due and payable
           no later than 60 days following the date of such termination of services.

   Id. at § 8.

           46.    Bridgeport further pays CAP a “Marketing Fee” pursuant to the Management

   Agreement, as set forth above, see Ex. 2, at § 2(c), and pursuant to a Wet Distillers Grain

   Marketing Agreement, as well as a “Purchase Fee” or “Origination Fee” pursuant to its Grain

   Purchasing Agreement, each as discussed further below.

           47.    Since 2007, Bridgeport has paid substantial sums of money to CAP. Specifically,

   Bridgeport has paid approximately $33 million in the form of various fees, including

   Management, Incentive, and Marketing Fees, with more than $16 million of that figure being

   paid to CAP since 2014.

           48.    Bridgeport’s business and operations depend heavily on the effective management

   and oversight of CAP, whom Bridgeport entrusts to act in its best interests in its decision-making

   relating to Bridgeport and its daily activities. That includes CAP’s work in procuring corn for

   Bridgeport, ensuring that Bridgeport is paying the best, most competitive prices that it can in

   order to procure that product, and guaranteeing that Bridgeport is operating its business safely,

   effectively, and efficiently in order to produce the highest quality products at the lowest price.

           49.    The Management Agreement allows for the termination of CAP and the fees

   which Bridgeport pays to CAP for management services. Ex. 2, at § 16. However, given


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   Kramer’s roles on behalf of and interests in both Bridgeport and CAP, Defendants have not

   allowed for, and Bridgeport has not participated in, any meaningful discussion regarding

   potential termination of CAP or reduction or cessation of fees payable to CAP. Defendants have

   further engaged in self-dealing and other wrongdoing by not raising with the Board on an annual

   basis whether to modify or terminate the Management Agreement, and by failing to provide

   information to the Board, and specifically to the Class B Board Managers, or to the Bridgeport

   members including Plaintiffs, that would allow for a meaningful evaluation of CAP’s

   performance and whether or not to terminate the parties’ relationship.

   E.     Bridgeport’s Other Agreements With CAP

          50.     Bridgeport also entered into a Wet Distillers Grain Marketing Agreement with

   CAP, dated September 1, 2007, for the purposes of CAP marketing all wet distillers grains

   produced by Bridgeport’s Plant in Bridgeport, Nebraska. A true and accurate copy of the Wet

   Distillers Grain Marketing Agreement is attached hereto as Exhibit 3. In exchange for CAP’s

   services to market and transport those grains, Bridgeport agreed to pay CAP four percent (4%) of

   the net price for the wet distiller’s grains produced by Bridgeport as a “Marketing Fee.”

          51.     Bridgeport also entered into a Grain Purchasing Agreement with CAP, dated

   September 1, 2007, for the purposes of having CAP purchase all grains used by the Bridgeport

   Plant for the production of ethanol. A true and accurate copy of the Grain Purchasing

   Agreement is attached hereto as Exhibit 4. Specifically, CAP agreed to purchase and deliver to

   the Bridgeport Plant all of the grains used by Bridgeport in its Plant operations for a period of

   sixty (60) months. Bridgeport was obligated to purchase all grains used by the Plant only

   through CAP and pursuant to the Agreement. In exchange for CAP’s work, Bridgeport paid



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   CAP three cents ($0.03) per bushel of corn or grains purchased by Bridgeport’s use at the Plant

   (the “Purchase Fee”).

   F.     Defendants’ Wrongdoing

          52.     Kramer, individually and through CAP and John and Jane Does Nos. 1-25,

   engaged in a concerted effort of wrongdoing.

                  1.       Kramer’s Repeated Improper Use of Funds and Resources

          53.     Kramer, individually and through CAP and John and Jane Does Nos. 1-25, used

   funds that otherwise would have been distributed to Plaintiffs for his personal benefit and for the

   benefit of his other companies and interests.

          54.     As examples only:

                  (a)      Kramer purchased and used machinery and equipment for his personal use

          before subsequently requiring Bridgeport to purchase such equipment from him. For

          example, Kramer would require Bridgeport’s General Manager, Ted Free, to approve

          invoices for Bridgeport to purchase such depreciated equipment, even over Mr. Free’s

          protest, including that Bridgeport did not need such equipment.

                  (b)      Kramer sought out and obtained for his racing team(s) memberships in

          and sponsorships from Growth Energy, a national ethanol trade association. Kramer

          required Bridgeport to reimburse him personally for these memberships and associated

          sponsorships, and did not seek or obtain Bridgeport Board consent for these repeated

          expenses. Kramer’s name appeared on invoices he issued to Bridgeport for these

          expenses, and forced Mr. Free to approve, and then at some point, Kramer switched to

          reflecting his son’s name, Deric Kramer, on these invoices.



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               (c)     Kramer required Bridgeport to endorse various checks, paid by supplier

        Poet Ethanol to Bridgeport, over to Kramer’s personal Sterling Racing Team.

               (d)     Kramer required Bridgeport to pay for wrappings, vehicle graphics and

        decals, and other advertising or promotional products relating to Kramer’s personal

        racing teams or those in which he had interests. One such example relates to Kramer

        requiring Bridgeport to pay such expenses to Fineline Racing.

               (e)     Bandimere Speedway in Morrison, Colorado, invoiced Kramer and his

        entity American Ethanol for sponsorships relating to Kramer’s racing teams. Kramer

        would then require Bridgeport to pay for those sponsorships.

               (f)     Kramer required Bridgeport to pay for American Ethanol Racing’s and

        Sterling Ethanol Racing’s dues and memberships with NASCAR.

               (g)     Kramer advertised his company and racing entity Sterling Ethanol Racing

        at the Julesburg Drag Strip. When invoiced by Julesburg Drag Strip, Kramer required

        Bridgeport to pay those invoices.

               (h)     Kramer attempted to leverage Bridgeport for the benefit of CAP’s other

        managed entities, the Sterling and Yuma ethanol plants, over which Kramer also served

        as General Manager and provided oversight. As an example, upon information and

        belief, Kramer became upset with Bridgeport given the distinction of being among the

        safest ethanol production plants in America for several years in a row, and desired for

        Sterling and Yuma to be similarly recognized. Accordingly, Kramer engaged in various

        conduct, to the detriment of Bridgeport’s Plant, in an effort to obtain higher safety

        distinctions for the Sterling and Yuma plants.



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                  (i)    Kramer instructed that the Sterling and Yuma plants trade parts and

          equipment with the Bridgeport Plant, to Bridgeport’s detriment. As one example,

          Bridgeport would obtain and purchase new parts and units for its own use at the

          Bridgeport Plant, such as Natural Gas Odorizers and heat exchangers, and Kramer would

          direct that those new parts and units be provided to the Sterling and Yuma plants, without

          fair payment or value to Bridgeport, or in exchange for used or refurbished parts.

          55.     Kramer and CAP frequently refused to explain or discuss Bridgeport’s financials,

   and decisions which related to Bridgeport’s finances, with Plaintiffs. Among other things,

   Plaintiffs, as members of and investors in Bridgeport, are entitled to information regarding

   Bridgeport’s financial affairs and Defendants’ decisions relating to those finances, including

   pursuant to terms in the Bridgeport’s Operating Agreement and under Colorado’s Limited

   Liability Company Act. See, e.g., C.R.S. § 7-80-408 (regarding access to books and records,

   providing that each member of a limited liability company has the right to inspect and copy

   certain records of the company upon reasonable demand for any purpose reasonably related to

   the member’s interest as a member of the company, including but not limited to the true and full

   information regarding the business and financial condition of the company, including written

   resolutions and minutes, a formal accounting of the company’s affairs, and any other information

   regarding the affairs of the company as is just and reasonable).

          56.     The repeated wrongdoing by Kramer, including in collaboration with CAP and

   John and Jane Does Nos. 1-25, over a period of many years, was in violation of Bridgeport’s

   Operating Agreement, including but not limited to Section 7.23 which imposes liability on

   Kramer as the Managing Manager of Bridgeport for receipt of any improper financial or other



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   benefit to which the Manager is not entitled, and for violations of law, or acts or commissions

   involving fraud, bad faith or willful misconduct.

           57.     In addition, upon information and belief, Defendants have refused to provide

   Plaintiffs with full and fair access to and accounting of Defendants’ financial and management

   decisions relating to Bridgeport, in violation of the relevant agreements and applicable law, and

   in an attempt to conceal the wrongful conduct, including acts of self-dealing, of Kramer

   individually and through CAP.

                   2.     The Scheme to Obtain Sponsorships for Kramer’s Racing Teams

           58.     Plaintiffs have learned that Kramer, individually and through CAP and John and

   Jane Does Nos. 1-25, orchestrated a scheme to set up quid pro quo arrangements, in order to

   obtain lucrative sponsorships from Bridgeport’s suppliers for Kramer’s racing teams.

           59.     Specifically, Kramer, in collaboration with CAP and John and Jane Does Nos. 1-

   25, caused Bridgeport to pay inflated prices for corn and enzymes or other products for

   Bridgeport’s ethanol-production operations, which proceeds otherwise would be distributed in

   part to Plaintiffs.

           60.     This scheme included arrangements with many of Bridgeport’s product suppliers,

   including but not limited to Novozymes Bioenergy Company, Kinect Energy, Growth Energy,

   Poet Ethanol, and Phibro, and/or their individual subsidiaries or affiliates, and others. Under

   these arrangements and at the instruction of Kramer, individually and through CAP and John and

   Jane Does Nos. 1-25, Kramer set up agreements with these and other companies under which

   Bridgeport would pay above-market rates for product, and in exchange, the supplier company




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   would pay or provide Kramer or Kramer’s personal racing teams various sponsorships, outside

   of Bridgeport.

           61.      Plaintiffs have learned that Bridgeport’s General Manager, Ted Free, began to

   discover and become concerned about these arrangements and the prices Bridgeport was paying

   for products. After investigating these issues, Mr. Free began trying to raise his concerns to

   Kramer and others regarding the high prices Bridgeport was paying for products with its

   suppliers.

           62.      Kramer, in collaboration with CAP and John and Jane Does Nos. 1-25, attempted

   to stymie and block Mr. Free’s inquiries into these matters. For example, during a trip sponsored

   by Novazymes Bioenergy Company, Kramer began to try to “strongarm” Mr. Free to stop

   looking into these issues or inquiring with Bridgeport’s suppliers about their sponsorship

   arrangements with Kramer’s racing teams. Among other things, Kramer challenged Mr. Free

   and told him to stop, or else. Kramer also sent explicit text messages and photos to Mr. Free’s

   wife.

           63.      After Mr. Free continued to look into these issues, he received an email from a

   representative of one of Bridgeport’s suppliers, Novozymes Bioenergy, which confirmed Mr.

   Free’s concerns about Kramer’s sponsorship arrangements using Bridgeport. Patrick Denton, a

   Strategic Account & Marketing Manager at Novozymes Bioenergy -- with whom Bridgeport was

   under contract to purchase products -- sent an email to Mr. Free regarding Bridgeport’s contract.

   Mr. Denton stated that that he inadvertently and mistakenly sent Mr. Free a copy of the “Kramer

   Racing American Ethanol NHRA ProStock Sponsorship” agreement between Novozymes North

   America and Bridgeport (along with Sterling Ethanol, LLC and Yuma Ethanol, LLC) which



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   related to the sponsorship (the “Kramer Racing Sponsorship Agreement”). Mr. Denton noted

   that the Kramer Racing Sponsorship Agreement was the last page of the document, and asked

   that Mr. Free immediately discard it and keep it confidential.

          64.     Mr. Free, as Bridgeport’s General Manager in charge of its operations, was not

   aware of any arrangement relating to Novozymes sponsoring Kramer’s personal racing teams in

   exchange for Bridgeport spending certain amounts of money with Novozymes. Kramer had

   never told Mr. Free, the Bridgeport Board, or the Plaintiffs about such sponsorships before, and

   neither Mr. Free nor the Bridgeport Board had approved of this relationship or the Kramer

   Racing Sponsorship Agreement.

          65.     The Kramer Racing Sponsorship Agreement was signed by Kramer, as the

   President and Chairman of the Board of Bridgeport, as well as in his role as the Owner of

   Kramer Racing. A true and correct copy of Bridgeport’s Enzyme & Yeast Supply Agreement

   with Novozymes North America, containing the Kramer Racing Sponsorship Agreement, is

   attached as Exhibit 5.

          66.     Pursuant to the Kramer Racing Sponsorship Agreement, Novozymes agreed to

   sponsor the Kramer’s American Ethanol #52 Kramer NHRA ProStock Drag Racing team for five

   (5) years (from 2018 through 2023) and, depending on how much Bridgeport spent with

   Novozymes to purchase enzyme products for its ethanol-production operations, Novozymes

   would provide sponsorship at different levels to the racing team. Novozymes would do so

   through a “product credit” issued to Bridgeport. The total sponsorship would range between

   $225,000 and $400,000, paid as quarterly credits. See Ex. 5.




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          67.     As another example, Kramer used Bridgeport to obtain lucrative sponsorships for

   his racing teams from another supplier, Lallemand, which provided Bridgeport with yeast for its

   ethanol-production operations. Kramer knew that Bridgeport was paying Lallemand

   significantly more for yeast products than it would to other market suppliers for comparable

   product, in exchange for these sponsorships. Following a trial of another supplier’s product, and

   his looking into what Bridgeport was paying for its yeast products with Lallemand, Mr. Free

   came to learn that Bridgeport was paying approximately $650,000 more per year than it should

   have been, and that the Sterling and Yuma plants were each paying approximately the same. Mr.

   Free raised this issue with Kramer, intending to have Bridgeport switch to the lower-cost

   supplier. Rather than thank Mr. Free for discovering these “overpayments” which would save

   Bridgeport significantly, Kramer instead, in an effort to further protect the sponsorships for his

   racing teams, spoke briefly with a Lallemand executive and reported to Mr. Free that Kramer had

   “fixed” the problem, and that Lallemand would now significantly discount, by approximately

   $650,000, the amount it had been charging to Bridgeport for its yeast product.

          68.     As another example, Kramer leveraged a sponsorship for his racing teams from a

   software company, Direct Automation, which Bridgeport had engaged to update certain of its

   software. Kramer negotiated the contract and amount that Bridgeport would pay to Direct

   Automation, which Mr. Free and others came to learn was approximately $60,000 more than it

   should have been, and was paid in exchange for Direct Automation’s purchase of “stickers,” to

   appear as sponsorships on Kramer’s racing cars.

          69.     Following his receipt of this information, Mr. Free raised the issue and tried to

   further discuss his concerns with Kramer and others. Kramer shut down these concerns and told



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   Mr. Free to “stay in his lane” or words to that effect, and instructed Mr. Free that Bridgeport

   would continue to pay higher prices so that Kramer and his racing teams would continue to

   receive the Kramer Racing Sponsorship and other sponsorships.

          70.     Upon information and belief, at the direction of Kramer, in collaboration with

   CAP, Bridgeport entered into similar sponsorship agreements with multiple additional suppliers.

   Among other things, Kramer’s racing teams displayed logos, graphics, and decals on their race

   cars and other gear which displayed the names and information of additional supplier sponsors.

                  3.      Self-Dealing by Kramer Individually and Through CAP and John and
                          Jane Does Nos. 1-25

          71.     Kramer engaged in other self-dealing conduct relating to Bridgeport. As one

   example, Kramer became aware of certain interests in Bridgeport which a seller intended to

   make available. Instead of following the terms of the Operating Agreement, which allow

   Bridgeport and then Plaintiffs and others a right of first refusal relating to those interests, Kramer

   engaged in self-serving conduct to facilitate the sale and purchase of those interests not to the

   company, but to himself and to other of his associates, including to certain members of

   Bridgeport who were associated with Kramer. Among other conduct, Kramer did not

   meaningfully communicate with the Board about these interests, and did not obtain a bona fide

   offer relating to these interests from the third-party purchasers, defined under the Operating

   Agreement to include other Equity Owners of Bridgeport. See Ex. 1, at § 10.4. Rather, Kramer

   took the total amount of the sale and divided it up by twelve shares among himself and his

   associates. In doing so, Kramer failed to disclose that he subsequently would be voting for

   Bridgeport to make a meaningful distribution to its members, including on these interests.




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          72.     Thereafter, upon information and belief, Kramer, individually and through CAP

   and John and Jane Does Nos. 1-25, caused certain corporate actions to be taken so that the

   Kramer associates now owning these interests -- including Bornhoft Family Investment Group, C

   Triple E Energy, Five Aces LLC, JJLB LLC, and Kramer Energy Bridgeport -- received a

   substantial distribution with respect to them. Kramer’s conduct violated provisions of the

   Bridgeport Operating Agreement, including but not limited to Section 10 governing transfers of

   ownership interests in Bridgeport.

          73.     As another example of Kramer’s self-dealing, individually or through CAP and

   John and Jane Does Nos. 1-25, Kramer hired family members to be in charge of important

   compliance issues relating to the Bridgeport Plant, including but not limited to managing

   compliance related to the Plant’s carbon credit scores, which are critical to Bridgeport’s ability to

   market and sell product in certain states, including California. Upon information and belief, this

   has led to mixing and matching of carbon scores from Bridgeport and the other plants under

   Kramer and CAP’s control, Sterling and Yuma, to the detriment of Bridgeport, in order to allow

   the Sterling and Yuma plants to obtain higher carbon credit scores and access to other markets.

   In addition, upon information and belief, Kramer leveraged his scheme to obtain sponsorships

   for his racing teams from Bridgeport’s suppliers, as described above, to pay his son to drive race

   cars for those racing teams.

          74.     As a further example, Plaintiffs have come to learn that the funds Bridgeport kept

   in reserve in a bank account received a lower, less advantageous interest rate than those which

   were enjoyed by the Sterling and Yuma plants on the funds which they kept in reserve. Upon

   information and belief, Kramer negotiated higher, more attractive interest rates with the bank for



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   the Sterling and Yuma plants, but did not do so for Bridgeport. That resulted in significant lost

   interest for Bridgeport on these funds. Upon information and belief, Kramer previously

   instructed Mr. Free not to contact the bank or inquire into the interest rates relating to

   Bridgeport’s reserve funds held at the bank.

                  4.      The Wrongful Conduct with Respect to Mr. Free

          75.     As set forth herein, Kramer, individually and through CAP and John and Jane

   Does Nos. 1-25, took actions which further harmed Plaintiffs by restricting and preventing

   Bridgeport’s General Manager, Mr. Free, whom had been appointed to oversee Bridgeport’s

   daily operations, from performing his required job duties and functions as set forth in the

   Management Agreement. See Ex. 2, at §§ 11(G) and 11(H).

          76.     As examples only, during this period Kramer, individually and through CAP and

   John and Jane Does Nos. 1-25:

                  (a)     Continued to ignore Mr. Free’s concerns about Kramer’s wrongdoing,

          including, but not limited to, the impropriety of Kramer’s racing sponsorships;

                  (b)     Threatened Mr. Free to coerce him into not disclosing Kramer’s

          wrongdoing and the Kramer racing sponsorships, and to accept Kramer’s choices for

          Bridgeport’s suppliers given that Kramer’s racing sponsorships were tied directly to the

          size and dollar amounts of orders relating to those suppliers;

                  (c)     Instructed Mr. Free to not disclose information about Kramer’s

          wrongdoing;

                  (d)     Appointed himself “Operations Director” of the Bridgeport Plant, making

          himself, among other things, in charge of certain operational decisions such as selecting



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          products for Bridgeport’s ethanol production operations. Kramer did so to further limit

          Mr. Free’s participation in and knowledge of the Plant’s operations, and to hide his

          conduct from Mr. Free; and

                  (e)     Caused attorney Ronald Brotzman on June 29, 2020, to notify Mr. Free

          that his employment agreement as the General Manager of Bridgeport, dated February 1,

          2009, was terminated effective 180 days later and that Mr. Free’s employment would

          continue, now only “at will,” with CAP having the ability to terminate his employment at

          any time for any reason, with or without notice.

          77.     Kramer’s actions prevented or restricted Mr. Free’s abilities to perform his duties

   and obligations and were in violation of the Operating Agreement and/or applicable laws.

          78.     Despite Kramer’s wrongful conduct, Mr. Free continued to perform various

   studies and analyses regarding the pricing that Bridgeport’s suppliers were providing to

   Bridgeport, relating to Mr. Free’s concerns regarding Kramer’s sponsorship arrangements and

   other wrongdoing.

          79.     In advance of a Bridgeport Board meeting scheduled to occur on May 25, 2021,

   Mr. Free submitted documents and information to the Bridgeport Board Controller, Greg Carrier,

   on or about May 18, 2021, requesting that the documents and information be included in the

   package sent to the Bridgeport Board in advance of the May 25, 2021 meeting, and to help

   facilitate a presentation on his findings that Mr. Free wanted to give to the Board during the

   meeting.




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          80.     Kramer, however, became aware of Mr. Free’s intent to present this information

   to the Board and instructed Mr. Carrier to remove this information from the package of materials

   that would be sent to the Bridgeport Board.

          81.     The next day, on May 19, 2021, Kramer terminated Mr. Free from his position as

   Bridgeport’s General Manager and his employment agreement with CAP. As such, Mr. Free

   would not be able to present his findings to the Bridgeport Board.

          82.     Upon information and belief, Mr. Free was invited to a restaurant under auspices

   of having a meal with Kramer, but was met by Kramer and his attorney, and apparently upon

   feeling ambushed by the situation, Mr. Free left the restaurant. Kramer contacted the police and

   made a police incident report that resulted in a multi-county, multi-jurisdictional manhunt for

   Mr. Free, who Kramer apparently reported was armed, distraught, and driving a stolen vehicle.

   Mr. Free was only informed of his termination later, after leaving the restaurant.

          83.     On May 24, 2021, one week after Mr. Free had been terminated, Kramer sent an

   email to the Bridgeport Board. The email stated:

          Effective Wednesday, May 19, 2021, Ted Free is no longer employed by Colorado
          Agri Products (“CAP”) and correspondingly, he will no longer perform services of
          General Manager (“GM”) of Bridgeport Ethanol. This is a CAP personnel matter.
          Please understand that we are not at liberty to discuss the specifics of his separation.
          We want you to know CAP will continue to provide General Manager services to
          Bridgeport Ethanol and moving forward we have a recruiting company engaged to
          assist us in finding a new GM. Additionally, I have talked to a few other interested
          prospects. We hope to have a replacement targeted within the next month. In the
          meantime, Greg, Calvin and I will be running the operations until a replacement is
          found.

          84.     Kramer provided no meaningful opportunity for the Bridgeport Board to learn of

   any concerns Kramer had with Mr. Free, to have any advance notice of termination, or input into




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   the termination. Kramer provided no meaningful reasons for why Mr. Free was terminated,

   either before or after the termination.

          85.     Subsequently, in or around September 2021, Kramer, individually and through

   CAP and John and Jane Does Nos. 1-25, hired Trevor Morgan as the new General Manager for

   Bridgeport to operate the Bridgeport Plant, who was a former associate of Kramer’s who worked

   at Novozymes and Phibro, two of Kramer’s racing team sponsors. Kramer gave Plaintiffs and

   the Board no meaningful advanced notice, and no opportunity to review or comment on the

   hiring of Mr. Morgan, or opportunity to interview or identify other potential candidates. The

   hiring of Mr. Morgan, and Kramer’s conduct surrounding it, is yet another conflict of interest

   and wrongful conduct under the Bridgeport Operating Agreement and applicable laws.

                  5.      The Wrongful Conduct with Respect to Bridgeport’s Plant

          86.     In addition, Defendants have engaged in additional wrongful conduct relating to

   the Bridgeport Plant, which, among other things, has had negative effects on Bridgeport, its

   members and interest holders, and its personnel working at the Plant.

          87.     For example, Plaintiffs have recently received complaints from Bridgeport Plant

   employees regarding Mr. Morgan’s conduct as the new General Manager of the Plant, including

   his management of operations of the Plant on behalf of CAP and at the instruction of Kramer.

   Among other complaints, Bridgeport personnel report that they are concerned about the direction

   of the Plant under Mr. Morgan, and even are fearful for their jobs.

          88.     Among other conduct, Bridgeport personnel have recently reported that Mr.

   Morgan, at the instruction of Kramer and/or CAP, has requested that Bridgeport’s Plant Manager

   dispose of excess water and byproducts from the Bridgeport Plant’s operations in potentially



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   improper ways or without the proper clearances from applicable government authorities.

   Bridgeport’s Plant Manager expressed his concerns and reservations about doing so, and

   reported this issue to certain of Plaintiffs’ representatives, concerned that he would be viewed as

   potentially responsible for any potential misconduct.

             89.   Defendants’ conduct has had a negative impact on Bridgeport and Plaintiffs’

   interests, including, among other things, putting distributions at risk, and effecting the Plant’s

   daily operations, the morale of its personnel, and performance. These actions may also subject

   Bridgeport to heightened scrutiny from regulatory authorities.

   G.        Plaintiffs are Entitled to Recover Damages from Defendants

             90.   As a result of Defendants’ wrongful conduct, Plaintiffs have suffered substantial

   damages. These damages include, but are not limited to, lost distributions, substantial lost and

   impaired value of Plaintiffs’ business, and recovery from Defendants of their ill-gotten gains.

   Plaintiffs have been damaged in an amount well in excess of $75,000.00, exclusive of moratory

   interest and costs, which cannot be reclaimed or rebuilt in any reasonable timeframe.

                                          IV. Claims for Relief

                                        First Claim for Relief
                             Breach of Operating Agreement – Damages
                                   (Plaintiffs against Defendants)

             91.   Plaintiffs incorporate by reference the paragraphs above as if fully set forth

   herein.

             92.   Plaintiffs and Defendants are subject to the terms of the Operating Agreement,

   including but not limited to the term implied by law that imposes a duty of good faith and fair

   dealing upon Defendants in their conduct.



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             93.    Plaintiffs performed under the Operating Agreement.

             94.    Defendants’ actions materially breached the Operating Agreement, including but

   not limited to their duties of good faith and fair dealing in their conduct.

             95.    Plaintiffs have suffered and will suffer damages as a result of Defendants’

   breaches of the Operating Agreement and the implied covenant of good faith and fair dealing in

   an amount to be shown at trial.

                                       Second Claim for Relief
                              Accounting and Access to Books and Records
                                    (Plaintiffs against Defendants)

             96.    Plaintiffs incorporate by reference the paragraphs above as if fully set forth

   herein.

             97.    Plaintiffs have the right to an accounting and access to books and records as to the

   affairs of Defendants with respect to Bridgeport.

             98.    The grounds for Plaintiffs to have the right to an accounting and access to books

   and records include, but are not limited to, the following:

                    a.      As set forth in this Complaint, Plaintiffs have been wrongfully excluded

             from Bridgeport’s business or possession of their rights and property by Defendants.

                    b.      The terms of the Operating Agreement provide that each member shall

             have at all times access to the books and records of Bridgeport.

                    c.      Section 7-80-408, C.R.S., for the reasons set forth in this Complaint,

             requires that Defendants account to Plaintiffs.

                    d.      As set forth in this Complaint, other circumstances render a formal

             accounting just and reasonable.



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          99.     Plaintiffs are entitled to a formal accounting as well as access to books and

   records from Defendants and Bridgeport.

                                       V. Demand for Judgment

          WHEREFORE, Plaintiffs respectfully demand judgment in their favor and against

   Defendants on all Claims for Relief for damages in an amount to be proved at trial, as well as

   appropriate declaratory judgments concerning Plaintiffs’ rights and Defendants’ duties and

   obligations arising in connection with Bridgeport, without limitation, the relief below:

          A.      As to the First Claim for Relief, against Defendants, for damages in an amount to

   be shown at trial.

          B.      As to the Second Claim for Relief, against Defendants, for an accounting and

   access to books and records as to the affairs of Defendants with respect to Bridgeport.

          C.      As to all Claims for Relief, for attorneys’ fees and costs, expert witness fees, pre-

   judgment and post-judgment interest as allowed by the parties’ agreements and/or by law, and

   for such further relief as the Court deems just and proper.

                                           VI. Jury Demand

          Plaintiffs demand a jury trial on all issues so triable.




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          DATED: November 19, 2021.

                                      SHERMAN & HOWARD L.L.C.

                                      s/ Peter G. Koclanes
                                      Peter G. Koclanes

                                      s/ Nicholas M. DeWeese
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   Bridgeport, NE 69336

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